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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

Tn re:
Chapter 11
ONCO INVESTMENT COMPANY,
a Delaware corporation, et al., : Jointly Administered
Case No. 04-10558 (JBR)
Debtors.

STIPULATION AND ORDER REGARDING FINAL ORDER (I) AUTIIORIZING
DEBTORS TO (A) OBTAIN POSTPETITION FINANCING PURSUANT TO
11 U.S.C. SECTIONS 105, 361, 362, 363, 364(C)(1), 364(C)(3) AND 364(D)(1); AND
(B) UTILIZE CAST COLLATERAL PURSUANT TO 11 U.S.C, SECTIONS 105, 361,
362 AND 363; AND (II) GRANTING ADEQUATE PROTECTION TO PREPETITION
SECURED LENDERS PURSUANT TO 11 U.S.C, SECTIONS 105, 361, 362 AND 363
Recitals
A. On February 23, 2004 (the "Petition Date"), the above-captioned debtors
and debtors in possession (collectively, the "Dcbtors") filed voluntary petitions for relief under
chapter 11 of the Bankruptcy Code, 11 U.S.C. §§ 101-1330 (the "Bankruptcy Code"), By an
order entered on the Petition Date, the Debtors! chapter 11 cases have been consolidated for
procedural purposes only and are being administered jointly.
13, On April 8, 2004, the Court entered the Final Order (1) Authorizing
Debtors to (A) Obtain Postpetition Financing Pursuant to 11 U.S.C. Sections 105, 361, 362, 363,
364(c)(1), 364(¢)(3) and 364(d)(1); and (B) Utilize Cash Collateral Pursuant to 11 U.S.C.
Sections 105, 361, 362 and 363; and (11) Granting Adequate Protection to Prepetition Secured
Lenders Pursuant to 11 U.S.C. Sections 105, 361, 362 and 363 (D.1. 365) (the "Final DIP
Order").
Cc. Capitalized terns not defined herein have the meanings given to them in

the Fimal DIP Order,

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dD, Paragraph 40(1) of the Final DIP Order provided as follows:

any of the Debtors shall fai] to comply with the terms of this Final
Order solely as it relates to the Existing Lenders, except for any
requirement of prompt notice, prompt service of documents or any of
the reporting requirements set forth in paragraph 38 hercot;

E. Subsequent to the entry of the Final DIP Order, the DIP Lenders
determined that the cross-reference in paragraph 40(i) of the Final DIP Order to paragraph 38 of
the Final DIP Order was incorrect.

F, The first sentence of paragraph 20 of the Final DIP Order provided as
follows:

Except as otherwise provided in this Final Order, including, without
limitation, in the next succecding sentence of this paragraph 18, the
Debtors and the Existing Lenders are hereby authonzed and directed to
remit to the DIP Lenders or the Agents, as the case may be, one-
hundred percent (100%) of all collections on, and procecds of, the
Collateral (subject to the satisfaction of any licns and sccurity mterests
in such Collateral desenbed particularly in the DIP Loan Agreement
and hercin as bcing senior to the liens and security intcrests of the DIP
Lenders and the Agents), including all accounts reccivable collections,
proceeds of sales of ventory, fixed assets and any other assets,
including sales in and outside of the ordinary course of business, and
all other cash or cash equivalents which shall at any time on or afler
the Petition Date come into the possession or control of the Debtors, or
to which Debtors shall become entitled at any time.

CG. Subsequent to the entry of the Final DIP Order, the Existing Lenders
determined that the reference in the first sentence of paragraph 20 of the Final DIP Order to

paragraph 18 of the Final DIP Order was incorrect.

H, Accordingly, the Debtors, the Committee, the DIP Lenders, the Existing
Lenders and the Ad Hoc Committee of Senior Sccurcd Noteholders have agreed to correct these
crrors on the terms set forth in this Stipulation and Order, as indicated by the signatures of their

respective authorized representatives helow.

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Agreement

1. Paragraph 40(1) of the l‘inal DLP Order is hereby replaced in its entirety
with the following:

any of the Debtors shall {ai] to comply with the terms of this Final
Order solcly as it relates to ihe Existing Lenders, excepi for any
requirement of prompt notice, prompt service of documents or any of
the reporting requirements sct forth in paragraph 39 hereof,

2. The first sentence of paragraph 20 of the Final DIP Order is hereby
replaced in its entirety with the following:

Except as otherwise provided in this Final Order, including,
without limitation, in the next succeeding sentence of this
paragraph 20, the Debtors and the Existing Lenders are hereby
authonved and directed to remit to the DLP Lenders or the
Agents, as the cuse may be, one-hundred percent (100%) of
all collections on, and proceeds of, the Collateral (subject to
the satisfaction of any liens and secumily interests in such
Collateral described particularly m the DIP Loan Agreement
and hercin as being senior ta the liens and security interesls of
the DIP Lenders and the Agents), including all accounts
receivable collections, proceeds of salcs of inventory, fixed
assels and any other assets, including sales in and outside of
ihe ordinary course of business, and all other cash or cash
equivalents which shall at any timc on or after the Petition
Date come into the possession or control of the Debtors, or to
which Debtors shall become entitled at any time.

3, Except as sct forth in paragraphs 1 and 2 above, the inal DLP Order shall
not be affected or changed in any manner by this Stipulation and Order.

4, ‘This Stipulation and Order may be executed in identical counterparts, each
of which when so executed and delivered shall constitute an original, but all of which taken

Logether shall constitute one and the same instrument.

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WHEREFORE, the undersigned counsel have executed this Stipulation and Order

on bchalf of their respective clicnts.

Dated: Wilmington, Delaware
Apmil 22, 2004

La

Danict J. DeFranceschi (DE 2732)
Paul N. Heath (DE 3704)

 

RICHARDS, LAYTON & INGER, PA,

One Rodney Square

P.O, Box 551

Wilmington, Delaware 19899
(302) 651-7700 (Telephone)
(302) 658-6548 (Facsimile)

-and-

David G, Heiman (OH 0038271)
Heather Lennox (OH 0059649)
Carl E. Black (OH 0069479)
JONES DAY

North Point

901 Lakeside Avenue
Cleveland, Ohio 44114

(216) 586-3939 (Telephonc)
(216) 379-0212 (Facsimile)

ATTORNEYS FOR DEBTORS AND
DEBTORS IN POSSESSION

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RLFL: 2733100-1

ccd _

MORRIS, NICHOLS, ARSHT & TUNNELL
1201 North Market Street

P.O. Box 1347

Wilmington, Delaware 19899-1347

(302) 658-9200 (Telephone)

(302) 658-3989 (Facsimile)

-and-

Wendell HH. Adair, Jr.

Christopher R. Donoho, ITT

A. Victor Glaser

STROOCK & STROOCK & LAVAN LLP
180 Maiden Lane

New York, New York 10038-4982

(212) 806-5400 (Telephone)

PROPOSED ATTORNEYS FOR,
COMMITTEE

 

 
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anne PF, MS ot 94) )
OUCHARD, MARGU

& FRIEDLANDER, P.A,
222 Delaware Avenue, Suite 1400
Wilmington, Delaware 19801-3319
(302) 573-3500 (Telephone)
(302) 573-3501 (Facsimile)

rand-

Leshe A, Plaskon

PAUL, HASTINGS, JANOFSKY
& WALKER LLP

1035 Washington Boulevard

Stamford, Connecticut 06901

(203) 961-7424 (Telephone)

(203) 674-7624 (Facsimile)

ATTORNEYS FOR GENERAL ELECTRIC

CAPITAL CORPORATION, AS
ADMINISTRATIVE AGENT FOR DIp
LENDERS

CA-} RAR?
RLF] 2733100-1

Brendan Linchan Shannan (DE 3136)

Edward J. Kosmawski (DE 3849)

YOUNG CONAWAY STARGATT
& TAYLOR LLP

The Brandywine Building

1000 West Street, 17" Floor

P.O. Box 391

Wilmington, Delaware 19899-0391

(302) 571-6600 (Telephone)

(302) 571-1253 (Facsimile)

-and-

James M, Peck

Andrew R, Gottesman

SCHULTE ROTH & ZABEL, LLP
919 Third Avenue

New York, New York 10022

(212) 756-2000 (Teicphone)

(212) 593-5955 (Facsimile)

ATTORNEYS FOR SILVER POINT
FINANCE LLC, AS COLLATERAL AND
SYNDICATION AGENT FOR DIP
LENDERS

 

 
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Joanne P, Pickney (DE 3344)
BOUCHARD, MARGULES

& FRIEDLANDER, P.A.
22? Delaware Avenue, Sule 1400
Wilmington, Delaware 19801-3319
(302) 573-3500 (Telephone)
(302) 573-3501 (Facsimile)

-and-_

Leshe A, Plaskon

PAUL, HASTINGS, JANOFSKY
& WALKER LLP

1055 Washington Boulevard

Stamford, Connecticut 06901

(203) 961-7424 (Telephone)

(203) 674-7624 (Facsimile)

ATTORNEYS FOR GENERAT. ELECTRIC
CAPITAL CORPORATION, AS
ADMINISTRATIVE AGENT FOR DIP
LENDERS

 

annon (DE 3136)

Edward J. Kosmowski (DE 3849)

YOUNG CONAWAY STARGATT
& TAYLOR LLP

The Brandywine Building

1000 West Street, 17" Floor

P.O. Box 391

Wilmington, Delaware 19899-0391

(302) 571-6600 (Telephone)

(302) 571-1253 (Facsimile)

-arl-

James M. Peck

Andrew R. Gottesman

SCHULTE ROTH & ZABEL, LLP
919 Third Avenuc

New York, New York 10022
(212) 756-2000 (Telephone)

(212) 593-5955 (Facsimile)

ATTORNEYS FOR SILVER POINT
FINANCE LLC, AS COLLATERAL AND
SYNDICATION AGENT FOR DIP
LENDERS

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Zing Lene

<=> 2, Cousins (DE 3079)
William f. Chipman, Jr. (DLE 3818)
Dennis A. Melora (DE 4435)
GREENBERG TRAURIG LLP
The Brandywine Building

1000 West Street, Suite 1540
Wilmington, Delaware 1980I
(302) 661-7000 (Telophone)

-and-

Howard $. Beltzer

Danicl P. Ginsberg

WITTE & CASE LLP

1155 Avenue of the Americas

New York, New York 10036-2787
(712) 819-8200 (Telephone)

(712) 354-8113 (Facsimile)

ATTORNEYS FOR THE EXISTING
LENDERS

ff" .
SO ORDERED THISH. DAY OF aa

fy, Courthl

TED STATES BANKRUPTCY JUDGE

  

 

CUED ETOH?
KRLST- 7737100.)

David M, Fournier (DE 2812)
PEPPER HAMILTON LLP
lJercules Plaza, Suite 5100
1313 Market Street

Wilmington, Delaware 19801

(302) 777-6500 (Telephone)
-and-

Bruce Bennett

A. Brent lruitt (admitted in N.Y. and D.C.
only)

HENNIGAN, BENNETT & DORMAN LLP
601] South Figueroa Street, Suite 3300

Los Anpeles, California 90017

(213) 604-1200 (Telephone)

(213) 694-1234 (Facsimile)

ATTORNEYS FOR AD HOC COMMITTEF.
OF SENIOR SECURED NOTEHOLDERS

4,

 

 
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Scott D. Cousins (DE 3079)
William £. Chipman, Jr, (DE 3818)
Dennis A. Meloro (DE 4435)
GREENBERG TRAURIG LLP
‘The Brandywine Building

1000 West Street, Suite 1540
Wilmington, Delaware 19801
(302) 661-7000 (Telephone)

-und-

Howard §. Beltzer

Daniel P, Ginsberg

WHITE & CASE LLP

1135 Avenue of the Americas
New York, New York 10036-2787
(212) 819-8200 (Telephone)

(212) 354-8113 (Facsimile)

ATTORNEYS FOR THE EXISTING
LENDERS

SO ORDERED THIS __ DAY OF

TS fa

 

He fo
David M. Foumier (DE 2812)

PEPPER HAMILTON LLP

Hercules Plaza, Suite 5100

1313 Market Street

Wilmington, Delaware 19801

(302) 777-6500 (Telephone)

-and-

Bruce Bennett

A. Brent Truitt {admitted in N.Y. and 1.C.
only)

HENNIGAN, BENNETT & DORMAN LLP
601 South Figueroa Street, Suite 3300

Los Angeles, California 90017

(213) 694-1200 (Telephone)

(213) 694-1234 (Facsimile)

ATTORNEYS FOR AD HOC COMMITTEE
OF SENIOR SECURED NOTEHOLDERS

, 2004.

 

UNITED STATES BANKRUPTCY JUDGE

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